                     Case 2:09-cr-00381-WBS Document 158 Filed 07/20/15   Page 1 of 1
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)
                                                                      Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                        Eastern        District of        California

                    United States of America
                               v.                                          )
                                                                           )    Case No:       2:09CR00381-02 WBS
                       SERGIO MERCADO                                      )
                                                                           )    USM No: 18793-097
Date of Original Judgment:         5/6/2011                                )
Date of Previous Amended Judgment:                                         )    John Balazs, Appointed
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney

                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of        the defendant      the Director of the Bureau of Prisons       the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
              DENIED.        GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of        135              months is reduced to              108 months              .
                                              (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated 05/24/2011 shall remain in effect.

IT IS SO ORDERED.


Order Date: July 20, 2015



Effective Date:                  11/1/2015                                               William B. Shubb, U.S. District Court Judge
                       (if different from order date)                                                  Printed name and title
